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                                 IN THE UNITED STATES
                                   MIDDLE DISTRICT
                                      OF FLORIDA
                                      TAMPA DIVISION
                                                          Case No. 8:20-CV-02184-MSS-SPF
  Melanie Moore,
       Plaintiff,
  v.
  Pooches of Largo, Inc. and
  Luis Marquez, Independently,
  and as Owner of Pooches of Largo, Inc.

      Defendants,
  ___________________________________/

    PLAINTIFF’S MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT,
     MEMORANDUM OF LAW IN SUPPORT, AND DEMAND FOR JURY TRIAL

  1. Plaintiff, Melanie Moore, respectfully moves the Court, pursuant to Rule 15 of the

  Federal Rules of Civil Procedure, for leave to file an AMENDED COMPLAINT, a copy

  of which is attached hereto.

  2. A plaintiff is entitled to amend her pleading as a matter of right under Fed. R. Civ. P.

  15(a)(1) within 21 days of service of Rule 12(b)(6) motion, otherwise she may amend

  her pleading with only the opposing party’s written consent or the court’s leave. Fed.

  R. Civ. P. 15(a)(2). The decision whether to grant leave to amend a proceeding is within

  the sound discretion of the district court, but as this Court has aptly recognized, “this

  discretion is strictly proscribed by the provision that leave should be freely given when

  justice so requires.” (quoting Gramegna v. Johnson, 846 F.2d 675, 678 (11th Cir. 1988))


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  3.Therefore, a justifying reason must be apparent for denial of a motion to amend.

  Moore v. Baker, 989 F.2d 1129, 1131 (11th Cir. 1993). The district court’s discretion is not

  broad enough to permit denial absent a substantial reason to deny leave to amend.

  Shipner v. Eastern Air Lines, Inc., 868 F.2d 401, 407 (11th Cir. 1989).

  4. As Justice Black explained in Conley v. Gibson, 355 U.S. 41 at 48 (1957), “The Federal

  Rules rejects the approach that pleading is a game of skill in which one misstep by

  counsel may be decisive to the outcome and accept the principle that the purpose of

  pleading is to facilitate a proper decision on the merits. According to Fed. R. Civ. P 8(f),

  all pleadings shall be construed to do substantial justice.”

  5. Plaintiff is proceeding pro se in this case. The Court “freely” grants leave to amend,

  granting even represented plaintiffs at least one, and usually several, opportunities to

  amend a Complaint in accordance with the 11th Circuits liberal amendment policies.

  6. As the proposed First Amended Complaint demonstrates, the technical deficiencies

  in the original Complaint have been cured. The Plaintiff has satisfied each element of

  each cause of action so that each claim effectively states a claim for relief and thus, can

  now proceed on the merits.

                                            Argument

  As set forth below, there exists good cause for granting Plaintiff leave to file the

  amendment.

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  7. Despite its filing nearly two years ago, this case is still in its early stage.

  No discovery has been conducted and no trial date has been set. The delays in this

  proceeding have been in no way caused by the Plaintiff. Rather, the delay in the

  administration of this case were the result of Defendants' dilatory tactics and bad faith

  failure to litigate this case in accordance with orders by the Court and Local and

  Federal Rules of Civil in . In fact, the only action by the Defendants in furtherance of

  this case was a Motion to Dismiss in lieu of an answer which Defendants filed in

  January 2021 (Doc. 19). The Court decided the Motion to Dismiss eight months later,

  during which time no advancement toward resolution was possible due to Defendants'

  refusal to participate in case management with the Plaintiff, despite Plaintiff's efforts

  over two months of attempts to schedule a meeting with opposing counsel to no avail.

  8. Meanwhile, the clock continued to run on Plaintiff’s FLSA claims for those eight

  months, and the Court's ruling on the Motion to Dismiss came just thirty days before

  the expiration of the statute of limitations for Plaintiff's FLSA claims.

  9. In deciding to dismiss Plaintiff's FLSA retaliation claim, the decision was premised

  on technical deficiencies in the original pleading for failure to state a claim for relief.

  The Court believed, erroneously, that Plaintiff's complaint to her supervisor was

  premised on a breach of contract when in fact, the Plaintiff complained about a



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  shortage of her pay, unlawful pay practices, and threated to disclose information about

  Defendants' unlawful activity when she indicated she would be responding with

  counsel-all conduct that is protected from retaliation. In fact, Plaintiff's supervisor

  explicitly stated, in writing, that she understood Plaintiff's complaint pertained to

  wages an unlawful conduct by the Defendants. 1

  10. Respectfully, Plaintiff argues that this and other claims in the original pleading

  were erroneously dismissed premised on technical deficiencies in her pro se drafted

  Complaint which was held to a higher standard of perfection than that of a practicing

  attorney. Even parties represented by counsel are given at least one, often several,

  opportunities to amend their original pleadings. Plaintiff argues that the dismissal of

  the claims for technical deficiencies was improper because she was not granted the

  same opportunity given to almost every Plaintiff appearing before this Court to cure

  those deficiencies in accordance with the Court's policy of granting leave to amend

  "freely" where justice requires, before dismissing her claims altogether. This is

  especially true because the Plaintiff is proceeding pro se.

  11. Moreover, the Plaintiff requested that the Court grant leave to amend her pleading

  in April of 2021 (Doc. 24) but her request was not addressed for four months and then




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      "We will have our legal team look into the wage disagreement." (Doc.1 at 6)

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  denied as moot after dismissing all but two counts in her original Complaint. 12.

  Respectfully, Plaintiff further argues that the Court's interpretation of the allegations as

  written lead to the erroneous dismissal of multiple claims premised on a technically

  deficient Complaint rather than construe Plaintiff's claims on the merits of a well-

  drafted Complaint that effectively states a claim for relief.

  13. For example, the Court premised its order for Plaintiff's FLSA retaliation and

  Whistleblower counts due to be dismissed for failure to state a claim based on its

  interpretation of the Plaintiff's complaint to her supervisor as one for breach of contract

  because Plaintiff alleged a separate and distinct cause of action for breach of contract.

  However, as the screenshots of the conversation leading up to and including her

  termination show, Plaintiff made no mention of a breach, a contract, or a breach of

  contract at any time in the conversation. In fact, Plaintiff could not have complained

  about a breach of contract at that time because Plaintiff was unaware of the existence of

  an "agreement", much less a breach of that agreement. It was not until Plaintiff's

  counsel stated as much in his demand letter that Plaintiff learned of a potential breach.

  Rather, Plaintiff’s complaint stemmed from a substantial shortage of her wages of

  approximately $2000.




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  14. Plaintiff further complained and opposed Defendants' pay practices and explicitly

  stated that they were "illegal as hell." "Informal complaints to an employer regarding

  wage practices or any conduct that implicates the FLSA qualify as protected activity."

  EEOC v. White and Sons Enters, 881 F.2d 1006, 1011 (11th Cir. 1989) "A Plaintiff engages

  in statutorily protected activity when he or she protests an employer's conduct that is

  unlawful." See Harper v. Blockbuster Entm't Corp., 139 F. 3d 1385, 1388 (11th Circuit 1998)

  "In addition, a plaintiff engages in protected activity when he or she protests an

  employer's conduct which is actually lawful, so long as he or she demonstrates a good

  faith, reasonable belief that the employer was engaged in unlawful employment

  practices." Id. (emphasis added)

  15. Here, the Plaintiff was clear in her statements to her supervisor that her complaint

  was about her pay and conduct by the Defendants that was "illegal as hell." The

  proposed First Amended Complaint describes with greater specificity the subject of

  Plaintiff's complaint to her supervisor, describes how she engaged in protected activity,

  and explains the means by which she suffered adverse action as the direct result of her

  protected activity.

  16. Moreover, the amended version describes how Plaintiff engaged in multiple acts

  that constitute protected conduct under the FLSA and the Whistleblower Act. Plaintiff



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  argues that in dismissing the FLSA retaliation and Whistleblower claims, the Court did

  not consider the persistent retaliatory conduct of the Defendants subsequent to her

  termination which were also prohibited by the FLSA. The amendments are narrowly

  tailored so that they describe each retaliatory act with specificity and how the alleged

  retaliatory conduct damaged the Plaintiff. This persistent retaliation by the Defendants

  should not be overlooked simply because the Defendants were so relentless in their

  retaliatory acts that they could not be neatly packaged into one isolated act of

  retaliation. This ongoing pattern of retaliation warrants consideration, especially now

  that Plaintiff has effectively stated a claim for relief for retaliation under the FLSA and

  the Whistleblower Act, and thus, weighs heavily in favor of granting leave to file the

  proposed amended Complaint.

  17. The goal of the anti-retaliation provisions is to "maintain unfettered access to

  statutory remedial mechanisms." Robinson v. Shell Oil Co., 519 U.S. 337 (1997).

  Therefore, unlike the underlying discrimination or other employment claim, actionable

  retaliation is not limited to only adverse changes in the employment relationship, such

  as reductions in pay or termination. See EEOC v. Die Fliedermaus. 77 F. Supp. 2d 460, 472

  (S.D.N.Y. 1999); see also Robinson, 519 U.S. 337 (holding that anti-retaliation provisions

  apply equally to former employees); Gliatta v. Tectum, Inc., 211 F. Supp. 2d 992, 1008



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  (S.D. Ohio 2002) (retaliation ban applies to conduct beyond traditional employment

  decisions); Rather any non-employment retaliation "reasonably likely to deter

  …protected activity" can constitute proscribed retaliation. See EEOC Compliance

  Manual, Section 8: Retaliation (http://www.eeoc.gov//compliance.html), pp. 8-13, 8-14

  18. Legal proceedings-including counterclaims- can constitute actionable retaliation if

  they are filed against an employee in response to the employee asserting statutory

  workplace rights. See, e.g., Jacquez v. DiMarzio, Inc., 216 F. 2d 139, 141-43 (E.D.N.Y. 2002)

  (defendant's counterclaims found sua ponte to be retaliatory, dismissal and sanctions

  issued sua ponte).

  19. "[A] lawsuit…may be used by an employer as a powerful instrument of coercion or

  retaliation" and may dissuade individuals from pursuing their claims. Rosania v. Taco

  Bell of Am., Inc., 303 F. Supp. 878, 885 (N.D. Ohio 2004) (internal quotations omitted)

  20. Even the threat of a lawsuit can constitute an adverse employment action because it

  is designed to deter the protected activity. In Lovejoy-Wilson v. NOCO Motor Fuel, Inc.,

  the Second Circuit found actionable "adverse action" in the employer's threat of a

  lawsuit against an employee who asserted rights under the Americans with Disabilities

  Act; the threat "served to 'intimidate' or 'threaten' her in the assertion of her right to

  make complaints or file charges under the ADA" 264 F. 3d 208, 223.



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  21. In addition, although allegations contained within legal proceedings are protected

  by an absolute privilege under the law of defamation, the Supreme Court has long

  recognized that the Constitution does not protect the assertion of frivolous legal claims,

  and that such action can constitute actionable retaliation. Bill Johnson's Restaurants, Inc.,

  v. NLRB, 461 U.S. 731 (1983) (holding that the NLRB may enjoin a baseless lawsuit that

  is brought for retaliatory reasons). The effects of frivolous counterclaims, designed by

  definition only to retaliate, chill, and intimidate, clearly wreak irreparable harm on the

  plaintiff's and on other employees who would be deterred from asserting their

  workplace rights.

  22. Turning to the cause of action for "abuse of process" which was ordered due to be

  dismissed, it presents another example of good cause weighing in favor of amendment.

  Plaintiff states that the statements as they were written in the original Complaint were

  misconstrued when ordering the dismissal of the claim for abuse of process. By doing

  so, the Court erroneously applied the protections of "immunity" and "privilege" to the

  frivolous defamation action filed against the Plaintiff. The Court's misunderstanding of

  the Plaintiff's statements is evident here because as the Court is aptly aware, the

  Supreme Court is well settled that such protections do not extend to frivolous actions.

  23. In the proposed amended Complaint, Plaintiff emphasizes that the defamation



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  action was without probable cause and retaliatory, and further provides additional

  evidence that was not a part of the original pleading, proving that the Plaintiff was not

  the party responsible for the defamatory conduct alleged by the Defendants. By doing

  so, Plaintiff has provided support for her claim that the baseless action was made with

  retaliatory motive and the intention to injure the Plaintiff.

  24. The effects of frivolous actions, designed by definition only to retaliate, chill, and

  intimidate, clearly wreak irreparable harm on the plaintiffs and other employees who

  would be deterred from asserting their employment rights. "Unchecked retaliation, no

  matter its form, subverts the purpose of the FLSA…and other federal employment

  laws. Centeno-Bernuy, 302 F. Supp. 2d at 135.

  25. Although Plaintiff disputes the grounds upon which the Court ordered dismissal

  because it was premised on a misunderstanding of the facts as they were written,

  Plaintiff concedes that "abuse of process" was not the cause of action properly suited to

  the facts and allegations. Accordingly, the proposed First Amended Complaint omits

  the cause of action for "abuse of process" and adds a claim for malicious prosecution.

  The facts and allegations are better suited to the latter in effectively stating a claim for

  relief. By granting leave to file the amended Complaint, the Court can consider the

  cause of action for malicious prosecution as alleged in the context of retaliation and



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  part of a pattern of ongoing retaliatory conduct by the Defendants after the

  employment relationship terminated.

  26. Defendants explicitly left open the possibility of amendment in their Motion to

  Dismiss (Doc. 19) and further stated that amendment was in order to cure the

  deficiencies. Thus, Defendants have consented, in writing, to grant leave to file an

  amended Complaint.2 Likewise, Defendants did not oppose amendment in subsequent

  communications with counsel.

  27. In accordance with the Court’s policy of construing the pleadings so as to do

  substantial justice, rather than for the technical sufficiency of a pleading to be decisive

  of the outcome of the case, the policy weighs heavily in favor of granting leave to

  amend. This is especially true in this case because Plaintiff is proceeding pro se and has

  not been given the opportunity to amend in accordance with the Court's liberal policy

  on amendment and of construing pro se drafted pleadings with leniency.

  28. This case has been plagued by undue delays from the outset, causing the

  proceeding to be at a standstill for most of the twenty months since it was filed. First,

  by Defendants failure to meet and confer with the Plaintiff for case management,

  despite months of effort by the Plaintiff in attempting to obtain good faith participation




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      "All discovery and other matters should be stayed pending resolution of the obvious pleading deficiencies. (Doc.19)

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  by the Defendants' counsel. Second, by the Defendants refusal to surrender the payroll

  and time clock records for which they were ordered to surrender in August of

  2021, Defendants have once again brought this case to a standstill, this time for ten

  months, by refusing to produce the payroll and time clock records in accordance with

  the order to do so in July 2021. As is currently stands, no further progress can be made

  in this proceeding.

  29. Accordingly, the only conceivable way to cure the defects in this case is to grant

  Plaintiff leave to amend so that the case can effectively proceed on the merits. The

  Plaintiff is fully prepared to try the case on the merits.

  30. As the proposed First Amended Complaint demonstrates, the deficiencies in the

  original pleading have been cured and there is legal sufficiency to show that the

  Plaintiff is entitled to relief. In addition, the amendments have been narrowly tailored

  so that each element of each cause of action has been fully satisfied and all conditions

  of each cause of action have been met.

  31. Lastly, the Court should grant leave to file the proposed First Amended Complaint

  because it includes new evidence that was not in the Plaintiff's possession at the time

  the original Complaint was filed which further supports Plaintiff's claims by showing

  that Defendants have a history of conduct similar to that alleged by the Plaintiff here.



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  32. Given the misinterpretations of the allegations as stated in the original pleading and

  the technical deficiencies upon which the Court premised dismissal of multiple causes

  of action, it weighs heavily in favor of amendment so that the claims can be properly

  decided on the merits now that the deficiencies have been cured.

                                        Memorandum

  33. When deciding whether to allow amendment of a pleading, courts consider six

  factors. Absent a finding of “undue delay, bad faith, or dilatory motive on the part of

  the movant, repeated failure to cure deficiencies by amendments previously allowed

  undue prejudice to the opposing party by virtue of allowance of the amendment, [or]

  futility of the amendment” the Court should grant leave “freely.” Forman v. Davis, 371

  U.S. 178, 182 (1962). Generally, a pro se litigant must be given an opportunity to amend

  his complaint. Johnson v. Boyd, 568 F. App’x 719, 723 (11th Cir. 2014)


  34. There is no undue delay in the Plaintiff’s request to file the proposed First Amended

  Complaint because this case is in its early stage and no discovery has been conducted

  thus far, nor will the filing of the amended Complaint cause any additional discovery

  than what would have been necessary in the original version absent the technical

  deficiencies.




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  35. Plaintiff is not seeking amendment in bad faith or with a dilatory motive. This case

  has been before the Court for nearly two years and has yet to begin discovery. The

  Defendants refuse to surrender Plaintiff’s time clock records despite the Court’s order

  to do so issued more than eight months ago. Plaintiff requested the records from

  opposing counsel, however, Defendants refused to surrender the records or otherwise

  cooperate with the Plaintiff in good faith and the advancement of this case toward

  resolution is at a halt once again through no fault of the Plaintiff’s. Plaintiff stands to

  gain no advantage by implementing dilatory tactics or acting in bad faith.

  36. As this is Plaintiff’s first proposed amendment, Plaintiff has not failed to cure any

  deficiencies by amendments previously allowed.

  37. Defendant’s will in no way be prejudiced if the changes are allowed at this point in

  the proceedings. The determination of whether prejudice would occur often includes

  assessing whether allowing amendment would result in additional discovery, cost, and

  preparation. At the present stage of litigation, Defendants have not incurred any

  expenses or undue burden by discovery because no discovery has taken place.

  38. Moreover, Defendants have, and have always had, sole custody and control of the

  evidence to be produced through discovery thus, incur no expense to produce them.

  39. Furthermore, Plaintiff is only one employee, and her employment was brief, thus



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  the time to obtain and produce evidence sought through discovery and the expense of

  doing so is minimal, if any at all.

  40. Defendants cannot be prejudiced by the proposed amended Complaint because the

  Defendants already have first-hand knowledge of the roles, they played in the claims

  alleged in the proposed amendment. The proposed amendment does not involve the

  addition of new Defendants and the parties are the same. No prejudice to the

  Defendants would result in allowing the amendment under these circumstances.

  41. Lastly, Plaintiff’s request to amend is not futile as the Plaintiff has alleged sufficient

  facts to state a claim for relief that is facially plausible. The technical deficiencies that

  formed the premise for the dismissal of these claims have been cured by amendment,

  omission, or the inclusion of additional facts and/or evidentiary support that were not

  part of the original pleading. In doing so, the amended version effectively states a claim

  for relief.

  42. Futility of amendment is a high bar. "Leave to amend a complaint is futile when the

  complaint as amended would still be properly dismissed." Cockrell v. Sparks, 510 F.3d

  1307, 1310 (11th Cir. 2007) Where the issue of futility …is close," the court must err on

  the side of generosity to the " pro se plaintiff. O'Halleran v. First Union Nat'l Bank of Fla.,

  350 F.3d 1197, 1206 (11th Cir. 2003); see Bettencourt v. Owens, 542 F. App'x 730, 735-36



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  (11th Cir. 2013) ("In deciding whether a more carefully drafted pro se complaint might

  state a claim, i.e., whether an amendment would be futile, we have placed a heavy

  thumb on the scale in favor of answering that question in the affirmative.") Thus,

  futility of amendment only justifies denial of leave to amend where "a more carefully

  drafted complaint could [not] conceivably state a valid claim," O'Halloran, 350 F.3d at

  1206 or where it is "scarcely possible" that the pro se plaintiff's amended complaint

  would state a legally cognizable claim, Silva v. Bieluch, 351 F.3d 1045, 1049 (11th Cir.

  2003). Leave to amend is given freely "when justice so requires." F. Moore v. Baker, 989 F.

  2d 1129, 1131ed. R. Civ. P.15(a)(2)

  43. In light of this forgiving standard of review, good cause for granting leave to amend

  is immediately apparent. The interests of justice and judicial economy will

  undoubtedly be served by having all allegations properly before the Court as set forth

  in the amendment and thus, weigh heavily in favor of granting Plaintiff’s motion for

  leave to file the proposed First Amended Complaint.

                                          Conclusion

  44. Consistent with the liberal standard that applies to motions to amend under Rule

  15(a)(2), the grant of this motion is particularly appropriate given the clear absence of

  any substantial reason to deny leave to amend and its benefits with respect to justice



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  and judicial economy. Thus, Plaintiff respectfully requests that the Court grant leave to

  file the proposed First Amended Complaint.

                                Local Rule 3.01g Certification

  Defendants are not opposed to filing an amended Complaint and explicitly left open

  the option to file an amended Complaint in their Motion to Dismiss. Likewise,

  Defendants were not opposed to amendment in subsequent communications between

  Plaintiff and counsel for the Defendants.

                                           s/ Melanie Nicole Moore
                                              Plaintiff
                                              727-692-0143
                                              vettechmnm@gmail.com
                                              15519 Darien Way
                                              Clearwater, Florida 33764



                                   Certificate of Service
  Plaintiff, Melanie Moore, hereby certifies that the foregoing will be served on counsel

  for the Defendants on May 2, 2022, using the Court's CM/ECF system. Counsel for the

  Defendants will be informed of this filing by email notification sent through the

  CM/ECF system.

  Matthew Sarelson
  Counsel for Defendants
  (305) 773-1952
  2100 Ponce de Leon, Suite 1290
  Coral Gables, Florida 33134


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